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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

John Doe
                                               Plaintiff,
v.                                                          Case No.: 1:17−cv−07991
                                                            Honorable Harry D.
                                                            Leinenweber
Board of Trustees of Northern Illinois
University
                                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 21, 2019:


        MINUTE entry before the Honorable Harry D. Leinenweber: By agreement, the
status hearing set for 3/21/19 is re−set to 6/11/19 at 9:00 a.m. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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